Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 1 of 27

ATTACHMENT B
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" SC STi LOT AGC OFZ

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

In the Matter of the Search of

(ano, asérss or biel deserption of person property or preisos tobe searched] APPLICATION AND AFFIDAVIT
Facebook. sccoun information relating to he acount holder esiog vanity name wlan FOR SEARCH WARRANT

and UIDs 164] 165072 ond 1334013414, 160) Willow Road, Menlo Park, CA, and other
locations where Facebook. Servers are located that store ¢-mail and user aecount content

and information. CASE NUMBER: /2 -({S9S°-M
|, Adam Sucheski , being duly sworn, depose and say:

lam a(n) Special Agent of the Federal Bureau of Investigation. and have reason fo believe that on the property or premises
known aSiname, description and/or location)

Facebook. account information relating to the account holder using vanity name wlandis] and UIDs
1641165072 and 1334013414, 1601 Willow Road, Menlo Park, CA, and other locations where Facebook.
Servers are located that store e-mail and user account content and information.

in the Eastern District of Pennsylvania, there is now concealed a certain person or property, namely
(Gescriba the person or property to be seized)

See Attachments A and B.

which is {stale one or more bases for search and seizure set forth under Rule 41(b) of the Federal Rules of Criminal Procedure)
property designed/intended for use or which is or has been used as the means of committing a crime

concerning a violation of Title 18., United States Code, Section(s) 2252, 2252A, 2251 .
The facts to support a finding of Probable Cause are as follows:

SEE ATTACHED AFFIDAVIT
Continued on the attached sheet and made a part hereof. Yes ONo
Signature of Affiant :

Swom to before me, and subscribed in my presence
Philadelphia, PA

ufrrpir 1

Date Ci e
Honorable ELIZABETH T. HEY, U.S. Magistrate Judge

a
Name and Title of Issuing Officer Signature of Issuing Officer /

Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 3 of 27

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ATTACHMENT A
(T 0 Be Served Upon Facebook.)

Location to be searched: Facebook., 1601 Willow Road, Menlo Park, California, and other

locations where Facebook. servers are located that store e-mail and user account content and

information.

Items to be Seized (account information related to the account holder using vanity name

wiandis] and UIDs 1641165072 and 1334013414 ):

A.

C.

All account information, including: full name, user identification number, birth date, —
contact e-mail addresses, physical address (including city, state, and zip code), telephone
numbers, screen names, websites, and other personal identifiers.

All communications and messages made or received by the user, including all private
messages;

All PP logs, including all records of the IP addresses that logged into the account; to

include intra-session IPs

D.

The length of service (including start date), the types of service utilized by the user, and
the means and source of any payments associated with the service (including any credit
card or bank account number);

All privacy settings and other account settings;

All records pertaining to communications between Facebook and any person regarding

the user or the user’s Facebook account, including contacts with support services and

records of actions taken.

Exif/metadata associated with photographs posted to the above Facebook accounts

15
Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 4 of 27.

" Recognized devices
Deleted friends

Preserved data requested on October 21, 2012.

16

ee
Case 2:14-cr-00379-CMR Document 48-2. Filed 03/24/15 Page 5 of 27

ATTACHMENT B
(To be executed by Law Enforcement Agents)
Items to be seized:

All files, documents, communications, and contacts associated with the accounts using
vanity name wlandis] and UIDs 1641165072 and 1334013414 related to the production, receipt,
distribution, and or possession of files of minors engaging in sexually explicit conduct and or
sadistic or masochistic abuse, to include child pornography; visual depictions of minors engaging
in sexually explicit conduct, communications about or to minors; and any contact with minors; in
violation of Title 18, United States Code, Sections 2252, 2252A and 2251, along with any
evidence that would tend to show the true identities of the persons committing these offenses.

All available log files showing dates, times and IP addresses for access to this account.

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

In the Matter ofthe Search of °

(Namz, eddress or brief description of persan, property or 5 ises to be

SEARCH WARRANT

Facebook. sccount information relating to the account holder using vanity name wiandis! and UIDs
164$165072 and 1334013414, 1601 Willow Read, Menlo Park, CA, and other locations where
Fecebook. Servers are located that store e-mail and user account content and informatica.

CASENUMBER: | 2 — I54S- M
TO. Agents of the Federal Bureau of Investigation and any Authorized Officer of the United States

Affidavit(s) having been made before me by Adam Sucheski_ who has reason to believe that on the property or premises known as
(name, description, and/or location)

Facebook. account information relating to the account holder using vanity name wlandis1 and UIDs
1641165072 and 1334013414, 1601 Willow Road, Menlo Park, CA, and other locations where Facebook.
Servers are located that store e-mail and user account content and information.

in the Easter District of Pennsylvania, there is now concealed a certain person or property, namely
(describe the person or property) .

See Attachments A and B.

| am satisfied that the affidavit(s) and any recorded testimony establish probable cause to believe that the person or
property so described is now concealed on the person or premises above-described and establish grounds for the

issuance of this warrant.

YOU ARE HEREBY COMMANDED to search on or before December 8, 2012

Oato

(not to exceed 10 days) the person or place named above for the person or property specified, serving this warrant and making
the search (in the daytime — 6:00 A.M. to 10:00 P.M.) (at any time in the day or night as | find reasonable cause has been
established) and if the person or property be found there to seize same, leaving a copy of this warrant and receipt for the person
or property taken, and prepare a written inventory of the person or properly seized and promptly return this warrant to

HONORABLE ELIZABETH T. HEY . United States Magistrate Judge _as required by law.

t1a%f/2 10-430 b@-m- Philadelphia, PA

Date and Time Issued City and State

HONORABLE ELIZABETH T. HEY, U.S. Magistrate

Name and Title of Issuing Officer ” Signature of Issuing Oicer ‘ ?

AO 93 (Rov. 5/85) Search Warrant
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Case 2T4cr-00379-CMR™ Document 48-2 Fred UsiZ47I5~_ Page 7 OT 27

DATE WARRANT RECEIVED

DATE AND TIME WARRANT EXECUTED

COPY OF WARRANT AND RECEIPT FOR ITEMS LEFT WITH

INVENTORY MADE IN THE PRESENCE OF

INVENTORY OF PERSON OR PROPERTY TAKEN PURSUANT TO THE WARRANT

| swear that this inventory is a true and detailed account of the person or property taken by me on the warrant.

Subscribed, swom to, and retumed to me this date.

U.S. Judge or Magistrate

Date

Case 2:14-cr-00379-CMR - Document 48-2 Filed 03/24/15 Page 8 of 27 ©

ATTACHMENT A
(To Be Served Upon Facebook.)

Location to be searched: Facebook., 1601 Willow Road, Menlo Park, California, and other’

locations where Facebook. servers are located that store e-mail and user account content and :

information.

Items to be Seized (account information related to the account holder using vanity name

wlandis] and UIDs 1641165072 and 1334013414 ):

A.

C.

All account information, including: full name, user identification number, birth date,
contact e-mail addresses, physical address (including city, state, and zip code), telephone
numbers, screen names, websites, and other personal identifiers.
All communications and messages made or received by the user, including all private :
messages;

All IP logs, including all records of the IP addresses that logged into the account; to

include intra-session IPs

D.

The length of service (including start date), the types of service utilized by the user, anid
the means and source of any payments associated with the service (including any credit
card or bank account number);

All privacy settings and other account settings;

All records pertaining to communications between Facebook and any person regarding
the user or the user’s Facebook account, including contacts with support services and :

records of actions taken.

Exif/metadata associated with photographs posted to the above Facebook accounts

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Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 9 of 27 :

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H. Recognized devices

I. Deleted friends

J. Preserved data requested on October 21, 2012.

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Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 10 of x “ans

ATTACHMENT B
(To be executed by Law Enforcement Agents)

Items to be seized:

All files, documents, communications, and contacts associated with the accounts using
vanity name wlandis] and UlDs 1641165072 and 1334013414 related to the production, receipt,
distribution, and or possession of files of minors engaging in sexually explicit conduct and or:
sadistic or masochistic abuse, to include ¢ child pornography; visual depictions of minors engaging
in sexually explicit conduct, communications about or to minors; and any contact with minors: in
violation of Title 18, United States Code, Sections 2252, 2252A and 2251, along with any
evidence that would tend to show the tme identities of the persons committing these offenses.

All available log files showing dates, times and IP addresses for access to this account,

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Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 11 of 27

AFFIDAVIT

I, Adam Sucheski, a Special Agent (SA) with the Federal Bureau of Investigation (FBI),
Philadelphia Division, being duly sworn, depose and state as follows:
1, l have been employed as a Special Agent of the FBI for six years, and am currently
assigned to the Philadelphia Division's Fort Washington Resident Agency. While employed by
the FBI, I have investigated federal criminal violations related to child pornography, robbery and
securities fraud. I have gained experience through training at the FBI Academy and prior law
enforcement training.
2. Asa federal agent, I am authorized to investigate violations of laws of the United States
and to execute warrants issued under the authority of the United States.
3. The statements in this Affidavit are based on my investigation and other law enforcement
officers investigation of this matter. Since this affidavit is being submitted for the limited
purpose of securing a search warrant, I have not included each and every fact known to me
concerning this investigation. I have set forth only the facts that ] believe are necessary to
establish probable cause to believe that evidence, fruits, and instrumentalities of the violation of
Title 18, United States Code, Sections 2252, 2252A, and 2251, are located at Facebook. and
associated with subject name WENDELL LANDIS, vanity name wlandis] and User

Identification (UID) 1641165072 and the suspected minor victim's UID 1334013414.

LEGAL AUTHORITY
4. Title 18 U.S.C. § 2252(a) prohibits a person from knowingly transporting, shipping, ©

receiving, distributing, reproducing for distribution, possessing, or accessing with intent to view

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"oS:

Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 12 of 27

any visual depiction of minors engaging in sexually explicit conduct, or produced using a minor
engaged in such conduct, when such visual depiction was either maijed or shipped or transported
in interstate or foreign commerce, Or in or affecting interstate commerce, by any means,
including by computer, or when such visual depiction was produced using materials that had :
traveled in interstate or foreign commerce.

5. Title 18 U.S.C. § 2252A(a) prohibits a person from knowingly transporting, shipping, -
receiving, distributing, reproducing for distribution, possessing, or accessing with intent to view
any child pornography, as defined in Title 18 U.S.C. § 2256(8), when such child pomography
was either mailed or shipped or transported in interstate or foreign commerce, or in or affecting
interstate commerce, by any means, including by computer, or when such child pornography was
produced using materials that had traveled in interstate or foreign commerce.

6. Title 18 U.S.C. § 2251(a) prohibits a person from using the mail or any facility, including
the computer, or means of interstate or foreign commerce, from knowingly ermploying,
persuading, inducing, enticing, or coercing any minor to engage in any sexually explicit conduct
for the purpose of producing any visual depiction of such conduct.

7, Under 18 U.S.C. § 2703(g), a law enforcement officer does not have to be present for’
ejther the service or execution of the warrant. It is sufficient for us to serve it by fax or by mail
upon Facebook.. | request that Facebook. be required to produce the electronic communications
and other information identified in Attachments A and B hereto. Because Facebook. is not aware
of the facts of this investigation, its employees are not in a position to search for relevant
evidence. In addition, requiring Facebook. to perform the search would be a burden upon the

company. If all Facebook. is asked to do is produce all the files associated with the account, an
Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 13 of 27

employee can do that easily. Requiring Facebook. to search the materials to determine what
content is relevant would add to their burden.

8. I request that the Court authorize law enforcenient agents to seize only those items
identified in Attachment B from what is produced by Facebook. pursuant to the search warrant.
In reviewing these files, I will treat them in the same way as if] were searching a file cabinet for
certain documents. E-mails will be scanned quickly to determine if they are relevant to my
search. If they are, they will be read. If I determine that they are not relevant, I will put them
aside without reading them in full. This method is similar to what a law enforcement officer
would do in-the search of a filing cabinet or a seized computer.

9. Under 18 U.S.C. § 2703(b)(1){A), notice to the customer or subscriber is not required
when the government obtains the contents of electronic communications using a search warrant.
10, Under 18 U.S.C. §§ 2711(3) and 3127, this Court has the authority to issue the warrant
directing Facebook. to comply even though Facebook. is not located in this district, because the
Court has jurisdiction over the offense being investigated.

11.  Lalso ask that the warrant direct Facebook. to produce records and other information .
pertaining to this account. The government may obtain such records either by filing a motion
under 18 U.S.C. § 2703(d), or by means of a search warrant under § 2703(c)(1)(A).. Since I need
a search warrant to obtain the electronic communications anyway, Iam proceeding in the request
for records by search warrant as well. The facts set forth below to show probable cause also
constitute specific and articulable facts, showing that there are reasonable grounds to believe that
the records and other information sought are relevant and material to an ongoing criminal

investigation, as required by 18 U.S.C. § 2703(d).
Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 14 of 27 -

BACKGROUND REGARDING COMPUTERS, THE INTERNET, E-MAIL, AND ©
FACEBOOK

12. The term "computer" as used herein is defined in 18 U.S.C. § 1030(e)(1), and includes an
electronic, magnetic, optical, electrochemical, or other high speed data processing device
performing logical, arithmetic, or storage functions, and includes any data storage facility or
communications facility directly related to or operating in conjunction with such device.

13. The Internet is a worldwide network of computer systems operated by governmental .
entities, corporations, and universities. In order to access the Internet, an individual computer
user must subscribe to an access provider, which operates a host computer system with direct
access to the Internet. The World Wide Web (“ww”) is a functionality of the Internet which
allows users of the Internet to share information.

14. With a computer connected to the Internet, an individual computer user can make
electronic contact with millions of computers around the world. This connection can be made by

any number of means, including modem, local area network, wireless and numerous other

- methods.

15, E-mail is a popular form of transmitting messages and or files in an electronic
environment between computer users. When an individual computer user sends e-mail, it is
initiated at the user’s computer, transmitted to the subscriber’s mail server, then transmitted to its
final destination. A server is a computer that is attached to a dedicated network and serves niany
users. An e-mail server may allow users to post and read messages and to communicate via

electronic means.

16. Internet-based e-mail is a service provided by an electronic communication service
Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 15 of 27 ©

provider allowing individuals to send and receive e-mail from any Internet connected computer,
regardless of their location or Internet service provider (ISP). Individuals utilizing Intemet-based
e-mail services access their accounts by “logging in” through the web-browser software installed
on their computer, often by providing an account name and an associated password. Once the:
service provider's computers have determined the password is correct for the given account
name, the individual “logged-in” can access any e-mail sent to their account, and or send e-mail
to any other e-mail address accessible via the Internet.

17. Internet-based e-mail service providers reserve and or maintain computer disk storage:
space on their computer system, usually limited and closely regulated, for the use of the service
subscriber for the storage of e-mail communications with other parties, which include graphic
files, programs, or other types of date stored in electronic form.

18. Internet-based e-mail service providers maintain records pertaining to the individuals who
subscribe to their services. These records could include the account holder’s name, address, date
of birth, gender, occupation, and the Internet Protocol (IP) address used to establish the account
and subsequent accesses to that account.

19. Any e-mail that is sent to a Internet-based e-mail subscriber is stored in the subscriber's
"mail box" on the electronic communications service provider’s servers until the subscriber
deletes the e-mail or the subscriber’ s mailbox exceeds the storage limits preset by the provider.
If the message is not deleted by the subscriber, the account is below the maximum limit, and the
subscriber accesses the account periodically, that message can remain on the provider’s servers
indefinitely. Electronic communications service provider’s can also perform backups of

subscriber’s email accounts as routine maintenance in case their servers become inoperable so
Case 2:14-cr-00379-CMR -Document 48-2 Filed 03/24/15 Page 16 of 27

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the content in the subscriber’s account is not lost.

20. When the subscriber sends an e-mail, it is initiated at the user's computer, transferred via
the Internet to the provider’s servers, and then transmitted to its end destination. Most
Internet-based e-mail users have the option of saving a copy of a sent e-mail. Unless the sender
of the e-mail specifically deletes the e-mail from the provider’s server, the e-mail can remain on
the system indefinitely. The sender can delete the stored e-mail message thereby eliminating it
from the e-mail box maintained by the provider, but that message will remain in the recipient’s
e-mail box unless the recipient deletes it as well or unless the recipient’s account is subject to 2
account size limitations.

21. Internet-based e-mail provider’s typically offer services to their subscribers that allow
them to store any electronic file (i.e. image files, text files, etc.) on servers maintained and or -
owned by the provider. :
22. E-mails and other electronic files stored on an electronic communications service
provider's server by a subscriber may not necessarily be located in the subscriber's home
computer. The subscriber may store e-mails and or other files on the provider’s server for which
there is insufficient storage space in the subscriber's computer and or which he/she does not wish
to maintain in the computer in his/her residence. A search of the files in the computer in the
subscriber's residence will not necessarily uncover the files that the subscriber has stored on the
provider's server. -

23. Facebook owns and operates a free-access social networking website of the same name
that can be accessed at http://www. facebook.com. Facebook allows its users to establish

accounts with Facebook, and users can then use their accounts to share written news,
Case 2:14-cr-00379-CMR Document 48-2: Filed 03/24/15 Page 17 of 27 .

photographs, videos, and other information with other Facebook users, and sometimes with the
general public.
24. Facebook asks users to provide basic contact information to Facebook, either during the
registration process or thereafter. This information may include the user’s full name, birth date,
contact e-mail addresses, physical address (including city, state, and zip code), telephone
numbers, screen names, websites, and other personal identifiers. Facebook also assigns a user
jdentification number to each account. Users can also setup & "vanity URL" so other users can
easily find their Facebook pages.
95. Facebook users can select different levels of privacy for the communications and
information associated with their Facebook accounts. By adjusting these privacy settings, a _
Facebook user can make information available only to himself or herself, to particular Facebook
users, to all Facebook users, or to anyone with access to the Internet, including people who are
not Facebook users. Facebook accounts also include other account settings that users can adjust
to control, for example, the types of notifications they receive from Facebook.
26. Facebook users may join one or more groups or networks to connect and interact with,
other users who are members of the same group or network. A Facebook user can also connect
directly with individual Facebook users by sending each user a “Friend Request.” If the recipient
ofa “Friend Request” accepts the request, then the two users will become “Friends” for purposes
of Facebook and can exchange communications or view information about each other. Each
Facebook user’s account includes a list of that user’s “Friends” and a “Mini-Feed,” which
highlights information about the user’s “Friends,” such as profile changes, upcoming events, and

birthdays.
Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 18 of 27 .

27. Facebook users can create profiles that include photographs, lists of personal interests,
and other information. Facebook users can also post “status” updates about their whereabouts
and actions, as well as links to videos, photographs, articles, and other items available elsewhere
on the Internet. Facebook users can also post information about upcoming “events,” such as
social occasions, by listing the event’s time, location, host, and guest list. A particular user’s
profile page also includes a “Wall,” which is a space where the user and his or her “Friends” can
post messages, attachments, and links that will typically be visible to anyone who can view the
user’s profile.

28. Facebook users can exchange private messages on Facebook with other users. These
messages, which are similar to e-mail messages, are sent to the recipient’s “Inbox” on Facebook,
which also stores copies of messages sent by the recipient, as well as other information.
Facebook users can also post comments on the Facebook profiles of other users or on their own
profiles; such comments are typically associated with a specific posting or item on the profile.
29. Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP address.
These logs may contain information about the actions taken by the user ID or IP address on
Facebook, including information about the type of action, the date and time of the action, and the
user ID and IP address associated with the action. For example, if a user views a Facebook
profile, that user’s IP log would reflect the fact that the user viewed the profile, and would show
when and from what IP address the user did so.

30. Social networking providers like Facebook typically retain additional information about
their users’ accounts, such as information about the length of service (including start date), the

types of service utilized, and the means and source of any payments associated with the service
Case 2:14-cr-0Q379-CMR Document 48-2 Filed 03/24/15 Page 19 of 27 :

(including any credit card or bank account number). In some cases, Facebook users may
communicate directly with Facebook about issues relating to their account, such as technical
problems, billing inquiries, or complaints from other users. Social networking providers like :
Facebook typically retain records about such communications, including records of contacts
between the user and the provider's support services, as well records of any actions taken by the
provider or user as a result of the communications.

31. Therefore, the computers of Facebook are likely to contain all the material just described,
including stored electronic communications and information concerning subscribers and their use
of Facebook, such as account access information, transaction information, and account

application.

BACKGROUND OF THE INVESTIGATION
32. On October 18, 2012, your Affiant was provided information from Facebook which
appeared to indicate that a twenty-seven year old man was involved in the enticement and
production of child pornography. Facebook had discovered suspected sexual conversations
between a adult male and a minor female. Facebook notified the National Center for Missing
and Exploited Children (NCMEC) who subsequently advised the FBI. Your Affiant was advised
that Facebook user WENDELL LANDIS, user identification (UID) 1641165072 had his profile
disabled by Facebook as it appeared that he was violating their terms of service for engaging in
sexuaL conversation with a minor. Facebook provided a telephone number for the suspected
minor as well as her Facebook UID and IP address information.

33. | Through public records checks and law enforcement databases, your A ffiant identified
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Case 2:14-cr-00379-CMR Documént 48-2 kiled 03/24/15 Page 20 of 27

WENDELL LANDIS as ROBERT WENDELL LANDIS, date of birth December 7, 1984. Your
Affiant also located an active Facebook account for LANDIS, bearing vanity name wlandis]. On
this Facebook webpage, LANDIS indicates that he works for Exton Nissan, in Exton,
Pennsylvania, Your Affiant has viewed the photographs from the active Facebook page as well
as LANDIS' Pennsylvania driver's license photograph. Your Affiant believes that they are the .
same individual, ROBERT WENDELL LANDIS...

34. Your Affiant reviewed the information from Facebook, which provided several IP
addresses from which LANDIS accessed his account. The most recent in the records was
173.12.13.209 assigned on 07/20/2012 00:38:27 UTC

35. Your Affiant reviewed the information provided located telephone number 21 5-262-4363
within the records for UID 1641165072. Your Affiant sent a subpoena to Verzion, which 2
indicated that the telephone number is assigned to ROBERT W. LANDIS, 1507 Salford Street,
Salford, PA 18957. A review of toll records provided by Verizon indicates that LANDIS had
telephonic contact 79 times with the minor between January 1, 2012 and October 21, 2012. ,
36. | OnNovember 2, 2012, your Affiant received a response to a subpoena from Charter
Communications. Charter Communications advised that IP address 75.131.214.244 was
assigned to an account holder at an address known to your Affiant in Buford, Georgia on
10/7/2012 at 19:56:19 UTC. Through public records checks, your Affiant located and spoke
with the account holder on November 7, 2012, The account holder indicated that her deughe is
a minor, born in 1996 and that she had lived in Chester County, Pennsylvania up until July 2612,
when they moved to Buford, Georgia. Her daughter's Facebook account is associated with UID

1334013414.

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Mais nomen ff Sucvbwe tf poh Pquairet

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Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 21 of 27 |

37. On November 6, 2012, Comcast responded to a subpoena for records related to IP
address 173.12.13.209 assigned on 07/20/2012 00:38:27 UTC is a statically assigned IP address,
the subscriber is EXTON NISSAN, 200 West Lincoln Highway, Exton, Pennsylvania 19341.
Additionally, Comcast advised that email address rlandis325@comcast.net is assigned to
ROBERT LANDIS, 1102 Colonial Court, Norristown, Pennsylvania 19403, 215-262-4363.
38. Your Affiant reviewed the messages provided by Facebook between LANDIS and the
rainor, A conversation on April 29, 2012 at approximately 6:00 PM is as follows: Wendell
Landis (WL) and Minor (M) WL "“Lol...1 wanna take pics of u..."

© M “Nonnn what kindd ;)"

® WL "Not ones u can put on fb... Maybe start out with underwear pics..."

° M "Mmm uw can take any type u want ;)'

e WL "Maybe end up takin pics of u sucking my dick... or maybe a pic of my dick

in ur ass..."

° M "Anything you want hun."
39. The conversation continues approximately an hour and a half later and appears to show
LANDIS is planning to meet the minor;

® WL "I gotta make sure J can come tonight."

® M “Okayyss well ifu can. U can do w,e u want to me and take any pics u want ;)"

© WL "I wanna finger ur ass while u suck my dick.” :

® M "Go ahead ;)"
40. Approximately two hours later, it appears that LANDIS and the minor have met and are
discussing what occurred;

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2. Basem ufc WFeenmnTiEN phuvipi> By froriron, TAG mun. HAS Are Patra
Dy HoemorHote This rtd 1S AsecnmP wi7H Uip [ S34oiSsGiq gTais “vam '>
fam - oe) eee PA 8 ot A hewn Ae Ad) rf 3S —-4).

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Case 2:14-cr-Q0379-CMR jpocument 48-2 Filed 03/24/15 Page 22 of 27.

M "Haha not uhh! 1 jus kissed u alott"

WL "That's all?"

M "At first haba hten u were like J gotta stop or im guna wanna fuck u haha." -
WL "So u kept going..."
M "Hahaha I did ;) hey im not the one who gets excited that easilyy Joll all we 2
didw eas make out and u were ROCK hard."

WL "Ru complaining?"

M “U acted rlly surpriseedd when | sat on u Jol I toldd u I was rlly tight :P I hope u
liked it thooo ;)"
WL "It felt good."

M "Well if u come ovr then u can feel it again."

WL "u sure?:"

M "100% sure ;) and maybe this timee u can take some control when we fuck .

and last longer."

41. On May 5, 2012, LANDIS and the minor appear to be planning to meet the next day; :

WL "R ur parents gonna be home al day tomorrow?"
M "Yeahh but I can jus go to the park."

WL “idk if I can fuck but would love a nice bj."

42. OnMay 6, 2012, it appears that LANDIS and the minor planned to meet at approximately

3:30 PM and then discussed what happened during their encounter,

WL "Ru horny?!

M “Mmbhhmmm"

12
Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 23 of 27 °

e@ WL"My back and neck r killing me."
e M ":( im sorryy im on my way down now."
® WL "Was tonight better than last time?"

e M "Yes!"

CONCLUSION
43. Based on the aforementioned factual information, your affiant respectfully submits that
there is probable cause to believe that an individual using vanity name wlandis] and UD
1641165072 has knowingly persuaded, induced, enticed, or coerced a minor to engage in
sexually explicit conduct for the purpose of producing visual depictions of such conduct, and.
received and or possessed child pornography, and respectfully submits that there is probable
cause to believe that an individual using vanity name wlandis! and UIDs 1641165072 has
violated Title 1 8, United States Code, Sections 2252, 2252A, and 2251. Additionally, there is
probable cause to believe that evidence of the commission of criminal offenses, namely, -
violations of Title 18, United States Code, Sections 2252, 2252A, and 2251, is located in
Facebook accounts using vanity name wlandis1 and UID 1641165072 and UID 1334013414-and
other computer servers of Facebook. located at Facebook., 1601 Willow Road, Menlo Park, .
California 94025 and this evidence, listed in Attachments A and B to this affidavit, which is
incorporated herein by reference, is contraband, the fruits of crime, or things otherwise criminally
possessed, or property which is or has been used as the means of committing the foregoing

offenses.

44. Your Affiant, therefore, respectfully requests that the attached warrant be issued

13
Case 2:14-cr-00370-CMR Document 48-2 Filed 03/24/15 Page 24 of 27

authorizing the search and seizure of the items listed in Attachments A and B.

45, Since this investigation is continuing, disclosure of the search warrant, this affidavit,
and/or this application and the attachments thereto will jeopardize the progress of the
investigation. Accordingly, I request that the Court issue an order that the search warrant, this -
affidavit in support of application for search warrant, the application for search warrant and al.

attachments thereto, and all related docket entries be filed under seal until further order of this .

ALE

Adam Sucheski
Special Agent
Federal Bureau of Investigation

Court.

Sworn and subscribed before me thiscdy th day of November, 2012.

HON. BMIZABETH Y. HEY {
UNITED STATES MAGISTRATE JUDGE

14
Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 25 of 27 :

ATTACHMENT A
(To Be Served Upon Facebook.)

Location to be searched: Facebook., 160] Willow Road, Menlo Park, California, and other:
locations where Facebook. servers are located that store e-mail and user account content and -
information.

Items to be Seized (account information related to the account holder using vanity name

wlandis] and UIDs 1641165072 and 1334013414 ):

A. All account information, including: full name, user identification number, birth date,
contact e-mail addresses, physical address (including city, state, and zip code), telephone
numbers, screen names, websites, and other personal identifiers.

B ___ All communications and messages made or received by the user, including all private -
messages; :

C. All IP logs, including all records of the IP addresses that logged into the account; to

include intra-session IPs

D. The length of service (including start date), the types of service utilized by the user, and
the means and source of any payments associated with the service (including any credit
card or bank account number);

E. All privacy settings and other account settings;

F, All records pertaining to communications between Facebook and any person regarding
the user or the user’s Facebook account, including contacts with support services and
records of actions taken.

G. Exif/metadata associated with photographs posted to the above Facebook accounts

15 Ls
Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 26 of 27

- e

H. Recognized devices
L Deleted friends .
J Preserved data requested on October 21, 2012.

16
Case 2:14-cr-00379-CMR Document 48-2 Filed 03/24/15 Page 27 of 27

ATTACHMENT B
(To be executed by Law Enforcement Agents)
Items to be seized:

All files, documents, communications, and contacts associated with the accounts using
vanity name wlandis! and UlDs 1641165072 and 1334013414 related to the production, receipt,
distribution, and or possession of files of minors engaging in sexually explicit conduct and or —
sadistic or masochistic abuse, to include child pornography; visual depictions of minors engaging
in sexually explicit conduct; communications about or to minors; and any contact with minors; in
violation of Title 18, United States Code, Sections 2252, 2252A and 2251, along with any
evidence that would tend to show the true identities of the persons committing these offenses.:

All available log files showing dates, times and IP addresses for access to this account.

17
